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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                     FORT MYERS DIVISION
                  Case No. ________________________

SOUTH TRAIL FIRE PROTECTION AND
RESCUE SERVICE DISTRICT,
                Plaintiff,
    vs.

3M COMPANY f/k/a
Minnesota Mining and Manufacturing Co.;
AGC CHEMICALS AMERICAS, INC.;
AGC, INC., f/k/a Asahi Glass Co., Ltd.;
ANGUS INTERNATIONAL SAFETY GROUP, LTD;
ARCHROMA MANAGEMENT, LLC;
ARCHROMA U.S., INC.;
ARKEMA INC.;
BASF CORPORATION;
BUCKEYE FIRE EQUIPMENT COMPANY;
CARRIER GLOBAL CORPORATION;
CENTRAL SPRINKLER, LLC;
CHEMDESIGN PRODUCTS INC.;
CHEMGUARD, INC.;
CHEMICALS INCORPORATED;
CHUBB FIRE, LTD.;
CLARIANT CORPORATION;
CORTEVA, INC.;
DEEPWATER CHEMICALS, INC.;
JOHN DOE DEFENDANTS 1-49;
DUPONT DE NEMOURS, INC.;
DYNAX CORPORATION;
E.I. DUPONT DE NEMOURS AND COMPANY;
FIRE PRODUCTS GP HOLDING, LLC;
JOHNSON CONTROLS INTERNATIONAL, PLC;
KIDDE PLC, INC.;
NATION FORD CHEMICAL COMPANY;
NATIONAL FOAM, INC.;
RAYTHEON TECHNOLOGIES CORPORATION, f/k/a
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United Technologies Corporation;
THE CHEMOURS COMPANY;
THE CHEMOURS COMPANY FC, LLC;
TYCO FIRE PRODUCTS, LP;
and UTC FIRE & SECURITY AMERICAS CORPORATION, INC.,
                    Defendants.
                                                      /

                             NOTICE OF REMOVAL

      Defendants Tyco Fire Products LP and Chemguard, Inc. (collectively “Tyco”

unless identified individually by full name), by and through undersigned counsel,

hereby give notice of the removal of this action, pursuant to 28 U.S.C. §§ 1442(a)(1)

and 1446, from the Circuit Court of the Twentieth Judicial Circuit in and for Lee

County, Florida, to the United States District Court for the Middle District of Florida.

As grounds for removal, Tyco alleges as follows on personal knowledge as to its

own conduct and status and on information and belief as to all other matters:

                          PRELIMINARY STATEMENT

      1.    Plaintiff, South Trail Fire Protection and Rescue Service District, seeks

to hold Tyco and certain other Defendants liable based on their alleged conduct in

designing, manufacturing, marketing, distributing, and/or selling aqueous film-

forming foam (“AFFF”), which Plaintiff alleges has resulted in contamination.

      2.     Specifically, Plaintiff alleges that Defendants’ AFFF contained per-

and polyfluoroalkyl substances (“PFAS”), including perfluorooctanoic acid

(“PFOA”) and perfluorooctane sulfonic acid (“PFOS”), and that the use of these


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substances caused contamination of the Plaintiff’s water supplies, soil, and sediment

(collectively, “Plaintiff’s Property”), causing it injury.

      3.     At least some of the AFFF that gives rise to Plaintiff’s claims has been

manufactured by a select group of suppliers (including Tyco) in accordance with the

military’s rigorous specifications (“MilSpec AFFF”).             Under the federal

“government contractor” defense recognized in Boyle v. United Technologies Corp.,

487 U.S. 500 (1988), Tyco claims immunity from tort liability for its design and

manufacture of MilSpec AFFF and its provision of warnings for the product. Under

the federal officer removal statute, 28 U.S.C. § 1442(a)(1), Tyco is entitled to

remove this action in order to have its federal defense adjudicated in a federal forum.

See Papp v. Fore-Kast Sales Co., 842 F.3d 805, 810-15 (3d Cir. 2016). Such

removal “fulfills the federal officer removal statute’s purpose of protecting persons

who, through contractual relationships with the Government, perform jobs that the

Government otherwise would have performed.” Isaacson v. Dow Chem. Co., 517

F.3d 129, 133 (2d Cir. 2008).

                                  BACKGROUND

      4.    The Complaint in this action was filed on March 21, 2024, in the Circuit

Court of the Twentieth Judicial Circuit in and for Lee County, Florida, bearing Case

No. 2024-CA-002287 (DE 1-1, Complaint). Venue is proper in this Court pursuant

to 28 U.S.C. §§ 89(b) and 1441(a) because the Circuit Court of the Twentieth



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Judicial Circuit in and for Lee County, Florida is located within the Middle District

of Florida.

      5.      Tyco Fire Products LP accepted service of the Summons and Complaint

on April 12, 2024.       Chemguard, Inc. accepted service of the Summons and

Complaint on April 11, 2024. This Notice of Removal is timely filed in accordance

with 28 U.S.C. § 1446(b).

      6.      In accordance with Local Rule 1.06(b) and 28 U.S.C. § 1446(a), Tyco

is filing with this Notice of Removal copies of all process, pleadings, orders, and

other papers on file in the Circuit Court of the Twentieth Judicial Circuit in and for

Lee County, Florida. (DE 1-1; DE 1-2; DE 1-3).

      7.      Tyco is not required to notify or obtain the consent of any other

Defendant in this action in order to remove Plaintiff’s action as a whole under

§ 1442(a)(1). See, e.g., Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1253

(9th Cir. 2006); Hilbert v. McDonnell Douglas Corp., 529 F. Supp. 2d 187, 195 (D.

Mass. 2008).

      8.      Plaintiff generally alleges that certain Defendants, including Tyco, have

designed, manufactured, marketed, distributed, and/or sold AFFF that contains

PFAS, and that the use of AFFF has caused contamination of Plaintiff’s Property.

(DE 1-1, Compl. ¶¶ 8-13). Plaintiff further alleges that it has incurred or will incur

costs associated with the investigation, remediation, and monitoring of the PFAS



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contamination of Plaintiff’s Property. Id., Prayer for Relief at 35-36.

         9.    Plaintiff seeks to recover costs and damages associated with the alleged

contamination of Plaintiff’s Property. Id. ¶¶ 1, 4, 9, 13, 39, 40, 91, 101, 112, 116,

131, 134, 146, Prayer for Relief at 35-36. In addition to damages for past and future

costs of addressing that alleged contamination, Plaintiff seeks consequential

damages, pre- and post-judgment interest, and attorneys’ fees. Id., Prayer for Relief

at 36.

         10.   Plaintiff asserts claims against all Defendants for defective design (id.,

¶¶ 77-91), failure to warn (id., ¶¶ 92-101), public nuisance (id., ¶¶ 102-112), private

nuisance (id., ¶¶ 113-116), negligence (id., ¶¶ 117-131), and negligence per se (id.,

¶¶ 132-134). Plaintiff asserts a fraudulent-transfer claim, pursuant to the Uniform

Fraudulent Transfer Act, § 726.101-112, Fla. Stat., against E.I. DuPont de Nemours

and Company, The Chemours Company, The Chemours Company FC, LLC,

Corteva, Inc., and DuPont De Nemours, Inc.

         11.   Pursuant to 28 U.S.C. § 1446(d), Tyco is serving a copy of this Notice

of Removal upon all other parties to this case and is also filing a copy with the Clerk

of the Circuit Court of the Twentieth Judicial Circuit in and for Lee County, Florida.

         12.   By filing a Notice of Removal in this matter, Tyco does not waive the

rights of any Defendant to object to service of process, the sufficiency of process,

jurisdiction over the person, or venue; and Tyco specifically reserves the rights of



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all Defendants to assert any defenses and/or objections to which they may be

entitled.

       13.    Tyco reserves the right to amend or supplement this Notice of Removal.

               REMOVAL IS PROPER UNDER THE FEDERAL
             OFFICER REMOVAL STATUTE, 28 U.S.C. § 1442(a)(1).

       14.    Removal here is proper under the federal officer removal statute, 28

U.S.C. § 1442(a)(1), which provides for removal of an action relating to a

defendant’s acts undertaken at the direction of a federal officer.        Removal is

appropriate under this provision where the removing defendant establishes that: (a) it

is a “person” within the meaning of the statute; (b) the plaintiff’s claims are based

on the defendant’s conduct “acting under” the United States, its agencies, or officers;

(c) the plaintiff’s claims are “for or relating to” the defendant’s acts under color of

federal office; and (d) the defendant raises a colorable federal defense. Papp, 842

F.3d at 812; accord Mesa v. California, 489 U.S. 121, 124-25, 129-31, 133-35

(1989); Cuomo v. Crane Co., 771 F.3d 113, 115 (2d Cir. 2014); Isaacson, 517 F.3d

at 135; Durham, 445 F.3d at 1251.

       15.    Removal rights under the federal officer removal statute are much

broader than under the general removal statute, 28 U.S.C. § 1441(a). Suits against

defendants acting on behalf of federal officers “may be removed despite the

nonfederal cast of the complaint; the federal-question element is met if the defense

depends on federal law.” Jefferson Cnty, Ala. v. Acker, 527 U.S. 423, 431 (1999).

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This is because § 1442(a)(1) protects “the government’s need to provide a federal

forum for its officers and those who are ‘acting under’ a federal office.” Albrecht v.

A.O. Smith Water Prods., No. 11 Civ. 5990(BSJ), 2011 WL 5109532, *3 (S.D.N.Y.

Oct. 21, 2011) (citations omitted). This important federal policy “should not be

frustrated by a narrow, grudging interpretation of [§] 1442(a)(1).” Willingham v.

Morgan, 395 U.S. 402, 407 (1969); see Durham, 445 F.3d at 1252. To the contrary,

§ 1442 as a whole must be “liberally construe[d]” in favor of removal. Papp, 842

F.3d at 812 (alterations in original; internal quotation marks omitted).

      16.    All requirements for removal under § 1442(a)(1) are satisfied where, as

here, the notice of removal alleges that the Plaintiff’s injuries are caused at least in

part by MilSpec AFFF. See, e.g., Nessel v. Chemguard, Inc., No. 1:20-cv-1080,

2021 WL 744683, *3 (W.D. Mich. Jan. 6, 2021) (denying motion to remand and

finding that federal officer removal was proper in a lawsuit against Tyco and other

manufacturers of MilSpec AFFF); Ayo v. 3M Co., No. 18-cv-0373(JS)(AYS), 2018

WL 4781145 (E.D.N.Y. Sept. 30, 2018) (same). The court overseeing the In re

Aqueous Film-Forming Foams Products Liability Litigation multi-district litigation

has also found on multiple occasions that removal under § 1442(a)(1) is proper

where the notice of removal alleges that the plaintiff’s injuries are caused, at least in

part, by MilSpec AFFF. See In re AFFF Prods. Liab. Litig., MDL No. 2:18-mn-

2873-RMG, ECF No. 103 (D.S.C. May 24, 2019) (“MDL Order 1”), at 3-6; Order,



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In re AFFF Prods. Liab. Litig., MDL No. 2:18-mn-2873-RMG, ECF No. 320

(D.S.C. Sept. 27, 2019) (“MDL Order 2”), at 3-5; Order, In re AFFF Prods. Liab.

Litig., MDL No. 2:18-mn-2873-RMG, ECF No. 325 (D.S.C. Oct. 1, 2019) (“MDL

Order 3”), at 3-6. Given its experience with the claims and defenses in AFFF

litigation, the MDL Court’s holdings clearly demonstrate that this case, too, has been

properly removed to federal court.1

         A.      MilSpec AFFF

         17.     The United States Naval Research Laboratory developed AFFF in the

1960s to quickly suppress and extinguish liquid fuel fires, which are an ever-present

risk in aviation and military environments.                Since the late 1960s, following

catastrophic fires aboard the aircraft carriers USS Forrestal in 1967 and USS

Enterprise in 1969,2 the United States military has used MilSpec AFFF on military

bases, airfields, and Navy ships—settings where fuel fires are inevitable and

potentially devastating—to put out fires, save lives, protect property, and train its

personnel.       Pursuant to requirements of the Federal Aviation Administration,

MilSpec AFFF is also widely used to fight fires at larger civilian airports. The Naval

Research Laboratory has described the development of AFFF as “one of the most



1
    Following removal, Tyco intends to designate this action for transfer to the MDL.
2
 See Press Release 71-09r, U.S. Naval Research Lab., Navy Researchers Apply Science to Fire
Fighting (Oct. 23, 2009), https://tinyurl.com/y2jq4q4w.


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far-reaching benefits to worldwide aviation safety.”3

          18.   The manufacture and sale of MilSpec AFFF are governed by rigorous

military specifications created and administered by Naval Sea Systems Command,

a unit of the Department of Defense (“DoD”). The applicable specification, Mil-F-

24385, was first promulgated in 1969, and has been revised a number of times since

then.4 All MilSpec AFFF products must be qualified for listing on the applicable

Qualified Products List prior to military procurement. Prior to such listing, a

manufacturer’s products are examined, tested, and approved to be in conformance

with specification requirements.5         The MilSpec designates Naval Sea Systems

Command as the agency responsible for applying these criteria and determining

whether AFFF products satisfy the MilSpec’s requirements. After a product is added

to the Qualified Products List, “[c]riteria for retention of qualification are applied on

a periodic basis to ensure continued integrity of the qualification status.”6 Naval Sea

Systems Command reserves the right to perform any of the quality assurance



3
  U.S. Navy, NRL/MR/1001-06-8951, The U.S. Naval Research Laboratory (1923-2005):
Fulfilling the Roosevelts’ Vision for American Naval Power 37 (2006) (“Fulfilling the Roosevelts’
Vision”), https://permanent.fdlp.gov/gpo125428/roosevelts.pdf.
4
  The 1969 MilSpec and all its revisions and amendments through April 2020 are available at
https://tinyurl.com/yxwotjpg.
5
    Dep’t of Defense SD-6,          Provisions       Governing   Qualification   1   (Aug.   2019),
https://tinyurl.com/y5asm5bw.
6
    Id.


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inspections set forth in the specification where such inspections are deemed

necessary to ensure supplies and services conform to prescribed requirements.

         19.    From its inception until 2019, the MilSpec included the express

requirement that MilSpec AFFF contain “fluorocarbon surfactants.”                             All

fluorocarbon surfactants are PFAS, and that category includes PFOA, PFOS, and

their chemical precursors—the very compounds at issue in the Complaint here. This

requirement has been in force for virtually the entire period of time at issue in the

Complaint.       In 2019, the MilSpec removed the requirement of “fluorocarbon”

surfactants, but the DoD has acknowledged that no AFFF product can satisfy the

stringent performance requirements of the MilSpec without the use of PFAS-

containing surfactants. Even today, the AFFF MilSpec expressly contemplates the

presence of PFOA and PFOS (subject to recently imposed limits) in AFFF

formulations.7 Indeed, the AFFF MilSpec recognizes that it is not yet technically

feasible for manufacturers to eliminate PFOA and PFOS completely “while still

meeting all other military specification requirements.”8




7
    See MIL-PRF-24385F(4) § 6.6 & Tables 1, 3 (2020).
8
  Id. § 6.6 (“The DoD’s goal is to acquire and use a non-fluorinated AFFF formulation or
equivalent firefighting agent to meet the performance requirements for DoD critical firefighting
needs. The DoD is funding research to this end, but a viable solution may not be found for several
years. In the short term, the DoD intends to acquire and use AFFF with the lowest demonstrable
concentrations              of           …             PFOS              and             PFOA.”)
https://quicksearch.dla.mil/qsDocDetails.aspx?ident_number=17270.


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      B.     All The Requirements Of 28 U.S.C. § 1442(a)(1) Are Satisfied.

             1.      The “Person” Requirement Is Satisfied.

      20.    The first requirement for removal under the federal officer removal

statute is satisfied here because Tyco Fire Products LP and Chemguard, Inc. (a

limited partnership and corporation, respectively) meet the definition of “persons”

under the statute.     For purposes of § 1442(a)(1), the term “person” includes

“corporations, companies, associations, firms, [and] partnerships[.]” Papp, 842 F.3d

at 812 (quoting 1 U.S.C. § 1); accord Bennett v. MIS Corp., 607 F.3d 1076, 1085

(6th Cir. 2010); Isaacson, 517 F.3d at 135-36.

             2.      The “Acting Under” Requirement Is Satisfied.

      21.    The second requirement—“acting under” a federal officer—is satisfied

when an entity assists, or helps carry out, the duties or tasks of a federal officer.

Papp, 842 F.3d at 812. The phrase “acting under” is to be “liberally construed in

favor of the entity seeking removal.” Sawyer v. Foster Wheeler LLC, 860 F.3d 249,

255 (4th Cir. 2017) (internal quotation marks omitted). “[C]ourts have unhesitatingly

treated the ‘acting under’ requirement as satisfied where a contractor seeks to

remove a case involving injuries arising from equipment that it manufactured for the

government.” Id. (emphasis in original).

      22.    The requirement of “acting under” a federal officer is met here because

the alleged PFAS contamination that is the focus of Plaintiff’s claims stems in part

from MilSpec AFFF, a vital product provided by Tyco that otherwise “the

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Government would have had to produce itself.” Isaacson, 517 F.3d at 137. MilSpec

AFFF is a mission-critical military and aviation safety product that, without the

support of private contractors, the government would have to produce for itself. See

Ayo, 2018 WL 4781145, at *9 (describing MilSpec AFFF as a “mission-critical” and

“life-saving product” used by all branches of the U.S. armed forces and NATO

members (internal quotation marks omitted)); cf. Isaacson, 517 F.3d at 137. The

Naval Research Laboratory states that, “[a]lthough [it] was responsible for the

original concepts and formulations, it was necessary to elicit the aid of the chemical

industry to synthesize the fluorinated intermediates and agents to achieve

improvements in formulations.”9 Accordingly, the military has long depended upon

outside contractors like Tyco to develop and supply AFFF. See Nessel, 2021 WL

744683, at *3 (holding that AFFF manufacturers were “acting under” a federal

officer in connection with the manufacture and sale of MilSpec AFFF); Ayo, 2018

WL 4781145, at *8-9 (same); see also MDL Order 1 at 4 (finding that the “acting

under” requirement was satisfied because defendant demonstrated that it was

manufacturing AFFF under the guidance of the U.S. military); MDL Order 2, at 3-4

(holding likewise in case involving MilSpec AFFF used at Part 139 airport); MDL

Order 3, at 3-4 (same). If Tyco and other manufacturers did not provide MilSpec

AFFF, the government would have to manufacture and supply the product itself.


9
    Fulfilling the Roosevelts’ Vision, supra n.3, at 37.


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          23.    In designing and manufacturing the MilSpec AFFF at issue, Tyco acted

under the direction and control of one or more federal officers. Specifically, Tyco

acted in accordance with detailed specifications, promulgated by Naval Sea Systems

Command, that govern AFFF formulation, performance, testing, storage, inspection,

packaging, and labeling. Further, the AFFF products in question were subject to

various tests by the United States Navy before and after being approved for use by

the military and for inclusion on the Qualified Products List maintained by the

DoD.10

                 3.      The “Under Color Of Federal Office” Requirement Is
                         Satisfied.

          24.    The third requirement, that the lawsuit be “for or related to” the

defendant’s actions taken “under color of federal office,” is satisfied when there is a

“connection or association” between the defendant’s challenged actions and the

federal office. Papp, 842 F.3d at 813. As with the “acting under” requirement,

“[t]he hurdle erected by this requirement is quite low.” Isaacson, 517 F.3d at 137.11

          25.    Here, Plaintiff alleges that the use of PFAS in AFFF is the source of its

injuries. Tyco contends that some of the AFFF giving rise to Plaintiff’s claimed

injuries was MilSpec AFFF, and that the use of PFAS in MilSpec AFFF was required


10
     See Dep’t of Defense, SD-6, supra n.5, at 2.
11
  The “acting under” and “under color of” prongs overlap. Both “are satisfied if the actions subject
to suit resulted directly from government specifications or direction.” Albrecht, 2011 WL
5109532, at *5.


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by military specifications. As a result, Plaintiff’s claims against Tyco are connected

to its acts taken under color of federal office. See Ayo, 2018 WL 4781145, at *9

(“[T]here is evidence of a ‘causal connection’ between the use of PFCs in AFFF and

the design and manufacture of AFFF for the government.”); MDL Order 1, at 5-6

(element satisfied where “[Plaintiff]’s claims arise out of use of AFFF products that

it claims Tyco manufactured and sold, and for which the U.S. military imposes

MilSpec standards.”); MDL Order 2, at 5 (element satisfied where AFFF products,

“for which the military imposes MilSpec standards,” were the alleged cause of

plaintiff’s injuries); MDL Order 3, at 5-6 (same). It is irrelevant that Plaintiff does

not expressly contend that it has been injured by MilSpec AFFF. Courts “credit

Defendants’ theory of the case when determining whether [the] causal connection

exists.” Isaacson, 517 F.3d at 137; see also Nessel, 2021 WL 744683, at *3 (noting

that “Plaintiffs cannot decide what defense Defendants might present”). As averred

in this Notice of Removal, the injuries alleged in the Complaint arise at least in part

from MilSpec AFFF. Accordingly, the claims here are “for or relating to” Tyco’s

actions under color of federal office. 28 U.S.C. § 1442(a)(1).

             4.     The “Colorable Federal Defense” Requirement Is Satisfied.

      26.    The fourth requirement—a “colorable federal defense”—is satisfied by

Tyco’s assertion of the government contractor defense.

      27.    At the removal stage, a defendant need only show that its government



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contractor defense is colorable; that is, “that the defense was ‘legitimate and [could]

reasonably be asserted, given the facts presented and the current law.’” Papp, 842

F.3d at 815 (alteration in original; citation omitted). “A defendant ‘need not win his

case before he can have it removed.’” Id. (quoting Willingham, 395 U.S. at 407);

see also Isaacson, 517 F.3d at 139 (“To be ‘colorable,’ the defense need not be

‘clearly sustainable,’ as the purpose of the statute is to secure that the validity of the

defense will be tried in federal court.” (citation omitted)); O’Connell v. Foster

Wheeler Energy Corp., 544 F. Supp. 2d 51, 54 (D. Mass. 2008) (upon removal,

defendant must raise “colorable federal defense”). At the removal stage, the inquiry

“is purely jurisdictional, and neither the parties nor the district courts should be

required to engage in fact-intensive motion practice, pre-discovery, to determine the

threshold jurisdictional issue.” Cuomo, 771 F.3d at 116; see also Kraus v. Alcatel-

Lucent, No. 18-2119, 2018 WL 3585088, at *2 (E.D. Pa. July 25, 2018) (“A court

does not ‘determine credibility, weigh the quantum of evidence or discredit the

source of the defense’ at this stage. Instead, [the court] only determine[s] whether

there are sufficient facts alleged to raise a colorable defense.” (citation omitted)).

Moreover, “this inquiry is undertaken whilst viewing the facts in the light most

favorable to Defendants.” Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770,

783-84 (E.D. Pa. 2010). “Precisely in those cases where a plaintiff challenges the

factual sufficiency of the defendant’s defense, the defendant should ‘have the



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opportunity to present [his] version of the facts to a federal, not a state, court.’”

Cuomo, 771 F.3d at 116 (alteration in original; citation omitted).

         28.     Under the government contractor defense, the defendant is not liable

for the design, manufacture, or warnings of equipment or supplies “when (1) the

United States approved reasonably precise specifications; (2) the equipment

conformed to those specifications; and (3) the supplier warned the United States

about the dangers in the use of the equipment that were known to the supplier but

not to the United States.” Boyle, 487 U.S. at 512. Tyco has satisfied these elements

for purposes of removal.

         29.     The requirement of “reasonably precise specifications” can be met by

evidence showing either (a) that the government’s participation in the design of the

product “amount[ed] to more than a rubber stamping,” or (b) that the government

continued to purchase or use a product after the government became aware that the

product contained the alleged defect. Ramey v. Martin-Baker Aircraft Co. Ltd., 874

F.2d 946, 950 (4th Cir. 1989). Naval Sea Systems Command participated in the

design of MilSpec AFFF, and its role was not a mere “rubber stamping.” It created

(and has updated) detailed specifications governing the product’s formulation,

performance, testing, storage, inspection, packaging, and labeling.12                   Those

specifications are “reasonably precise” in requiring the use of PFAS. As noted


12
     See MIL-F-24385 (1969) and subsequent revisions and amendments, cited in note 5, supra.


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earlier, until 2019, the specification expressly required that MilSpec AFFF contain

“fluorocarbon surfactants,” all of which are members of the PFAS family. Even

since that express requirement was removed from the specification, the use of PFAS

has been implicitly mandated because PFAS-containing surfactants are the only kind

that allow AFFF to meet the performance requirements of the specification. In

addition, in the past and continuing to the present, the DoD has purchased and used

MilSpec AFFF with awareness of the product’s PFAS content and of the alleged

risks associated with PFAS in the product. Ayo, 2018 WL 4781145, at *12 (“That

the DoD knows of the alleged risks of [PFAS]-based AFFF products but continues

to purchase them supports the position that the government approved reasonably

precise specifications for the claimed defective design.”).

       30.    With respect to the second requirement, Tyco’s products have appeared

on the DoD Qualified Products List,13 which could have happened only if Naval Sea

Systems Command had first determined that they conformed to the MilSpec. See

Ayo, 2018 WL 4781145, at *13 (“There is also colorable evidence . . . that

Manufacturing Defendants’ AFFF products conformed to the government’s

reasonably precise specifications.”); MDL Order 1, at 5 (finding that defendant

demonstrated a colorable defense “where it contends that its AFFF products were


13
  See MIL-F-24385 QPL/QPD History for Type 3 AFFF (Oct. 24, 2014); MIL-F-24385
QPL/QPD History for Type 6 AFFF (Oct. 24, 2014) (both available at In re AFFF Prods. Liab.
Litig., No. 2:18-mn-02873, ECF No. 1969-24 (D.S.C.)).


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manufactured according to the U.S. military’s MilSpec specifications”).

       31.   Regarding the third requirement, for removal purposes, the government

was sufficiently informed regarding alleged product-related “dangers,” Boyle, 487

U.S. at 512, to exercise its discretionary authority in specifying and procuring

MilSpec AFFF. The military specifications have long included testing protocols and

requirements for toxicity, chemical oxygen, and biological demand. Indeed, it is

clear that the United States has long understood that AFFF contains PFAS and may

contain or break down into PFOS and/or PFOA; that AFFF constituents can migrate

through the soil and potentially reach groundwater; and that it has been reported that

this may raise environmental or human health issues.14 For example, as early as

October 1980, a report supported by the U.S. Navy Civil Engineering Laboratory,

U.S. Air Force Engineering Service Center, and the U.S. Army Medical Research

and Development Command stated that AFFF contained fluorocarbons and that

“[a]ll of the constituents resulting from firefighting exercises are considered to have

adverse effects environmentally.”15 By no later than 2001, DoD was aware of data

purportedly showing PFAS compounds in MilSpec AFFF to be “toxic” and

“persistent.” In 2002, the United States Environmental Protection Agency issued a


14
  See, e.g., EPA, Revised Draft Hazard Assessment of Perfluorooctanoic Acid and Its Salts 1-6
(Nov. 4, 2002).
15
   See Edward S. K. Chian et al., Membrane Treatment of Aqueous Film Forming Foam (AFFF)
Wastes       for     Recovery        of     Its   Active Ingredients  1    (Oct.   1980),
https://apps.dtic.mil/dtic/tr/fulltext/u2/a136612.pdf.


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draft hazard assessment for PFOA, which reviewed in detail, among other data,

human epidemiological studies and animal toxicology studies pertaining to alleged

associations between PFOA and cancer. More recently, in a November 2017 report

to Congress, the DoD acknowledged the concerns raised by the EPA regarding

PFOS and PFOA. Nonetheless, it still described AFFF containing PFOS or PFOA

as a “mission critical product [that] saves lives and protects assets by quickly

extinguishing petroleum-based fires[.]”16 Indeed, Naval Sea Systems Command

continues to require that MilSpec AFFF contain “surfactants,” and recognizes that

PFAS, including PFOS and PFOA, will be present (subject to recently imposed

limits for PFOS and PFOA) in AFFF formulations.17 If the government is already

aware of the relevant product hazards, no warning by the manufacturer to the

government is required. See Ayo, 2018 WL 4781145, at *14; MDL Order 1, at 5

(“As to whether [defendant] adequately informed the U.S. military of dangers

associated with its AFFF products of which the military was not already aware,

[defendant] points to materials such as a November 2017 Department of Defense

report to Congress, in which the agency acknowledged the [EPA]’s stated concerns



16
   Dep’t of Defense, Aqueous Film Forming Foam Report to Congress 1-2 (Oct. 2017) (pub. Nov.
3, 2017), https://tinyurl.com/wshcww4.
17
     See MIL-PRF-24385F(SH), Amendment 4, § 6.6 & Tables I, III (2020),
https://quicksearch.dla.mil/qsDocDetails.aspx?ident_number=17270; see also David Vergun,
DOD Officials Discuss Fire-Fighting Foam Replacement, Remediation Efforts (Sept. 16, 2020),
https://tinyurl.com/ty5ku8hp.


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with PFOS/PFOA in drinking water . . . .”).

      32.    At minimum, these facts constitute colorable evidence that Naval Sea

Systems Command “made a discretionary determination” regarding the formulation

of MilSpec AFFF after weighing the fire-suppression benefits against the alleged

risks. See Twinam v. Dow Chem. Co. (In re “Agent Orange” Prod. Liab. Litig.),

517 F.3d 76, 90 (2d Cir. 2008); see also Albrecht, 2011 WL 5109532, at *5 (“A

defendant is not required to warn the government where ‘the government knew as

much or more than the defendant contractor about the hazards of the product.’”

(citation omitted)). Where, as here, the government has exercised “discretionary

authority over areas of significant federal interest such as military procurement,” the

government contractor defense applies. In re “Agent Orange” Prod. Liab. Litig.,

517 F.3d at 89-90; see also Ayo, 2018 WL 4781145, at *10, 12-13.

      33.    Tyco’s use of PFAS in MilSpec AFFF was required by military

specifications. By seeking to impose tort liability on Tyco for alleged injuries to

Plaintiff that were caused in whole or in part by Tyco’s compliance with military

specifications, Plaintiff is attempting to use state tort law to attack design choices

dictated by the military. The government contractor defense precludes such an

attack. See Boyle, 487 U.S. at 509.

      34.    In the MDL, the court has found based on an extensive factual record

that the government contractor defense asserted by Tyco and other MilSpec AFFF



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manufacturers presents genuine issues of fact for trial. See In re Aqueous Film-

Forming Foams Prods. Liab. Litig., 2022 WL 4291357, at *12, 15 (D.S.C.

Sept. 16, 2022). A defense that presents triable issues is by definition better than

merely “colorable.”

      35.    Accordingly, Tyco is entitled to remove this action to federal court

pursuant to the federal officer removal statute, 28 U.S.C. § 1442(a)(1).

      WHEREFORE, Tyco hereby removes this action from the Circuit Court of

the Twentieth Judicial Circuit in and for Lee County, Florida, to this Court.

      RESPECTFULLY SUBMITTED this 1st day of May, 2024.

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 1, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that copies of

the foregoing NOTICE OF REMOVAL, with its attachments, were served on all

parties on the attached Service List, in the manner specified, on May 1, 2024.

                                      /s/ Michael D. Sloan
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